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                             United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERM AN DIVISION


 UNITED STATES OF AMERICA                           §
                                                    §
 V.                                                 §            CASE NO. 4:10cr57
                                                    §            Judge Schneider
 WILLIAM DOUG MITCHELL (26)                         §

                  MEMORANDUM ADOPTING REPORT AND
          RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

          Came on for consideration the report of the United States Magistrate Judge in this action, this

 matter having been heretofore referred to the United States Magistrate Judge pursuant to 28 U.S.C.

 § 636. On December 10, 2010, the report of the Magistrate Judge was entered containing proposed

 findings of fact and recommendations that Defendant's Motion to Suppress should be granted.

          Having received the report of the United States Magistrate Judge, and no objections thereto
      .
 having been timely filed, this Court is of the opinion that the findings and conclusions of the

 Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and conclusions

 of the Court. It is accordingly

          ORDERED that Defendant's Motion to Suppress Evidence (Dkt. #547) is GRANTED.

          It is SO ORDERED.

          SIGNED this 4th day of January, 2011.




                                                             ____________________________________
                                                             MICHAEL H. SCHNEIDER
                                                             UNITED STATES DISTRICT JUDGE
